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                           IN THE UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                      CHARLOTTE DIVISION

IN RE:                          )
                                )
TIMOTHY RUSSELL ROWLEY          )                             CASE NO. 18-31455
FDBA TAMBO, LLC                 )
D/B/A CIMARRON SKY GALLERY      )                                   CHAPTER 7
SSN: XXX-XX-7730                )
                                )
PATRICIA JOHNSTON ROWLEY        )
SSN: XXX-XX-4723                )
                                )
                                )
                        DEBTORS )


                MOTION FOR RELIEF FROM STAY APPLYING 11 U.S.C. § 362(e)

       Pursuant to Section 362(d) of Title 11 of the United States Bankruptcy Code, as
amended (the "Bankruptcy Code") and Bankruptcy Rules 4001 and 9014, SPECIALIZED LOAN
SERVICING, LLC (SLS), through counsel, hereby moves the Court for an Order for relief from
the automatic stay provisions of 11 U.S.C. §362(a).

         In support of its Motion, SLS shows unto the Court that:

       1. On or about September 26, 2018, the Debtors filed a petition with the United States
Bankruptcy Court for the Western District of North Carolina for relief under Chapter 7 of the
United States Bankruptcy Code.

         2. This Court has jurisdiction over the Motion pursuant to the provisions of 11 U.S.C.
§362 and Bankruptcy Rules 4001 and 9014. This Court has jurisdiction over this proceeding,
pursuant to 28 U.S.C. §1334, the Referral Order entered herein by the Chief United States
District Court Judge for the Western District of North Carolina and 11 U.S.C. §362. Bankruptcy
Rules 4001 and 9014 apply. This matter is a core proceeding as defined in 28 U.S.C. §151 and
157(b) and to the extent any non-core issues are raised, SLS consents to the jurisdiction of this
Court for determination of all issues, including non-core issues.

         3. John W. Taylor is the duly appointed Trustee in the Debtors' Chapter 7 proceeding.

       4. On or about September 27, 2013, Timothy Rowley and Patricia Rowley executed a
Promissory Note ("Note") in the original principal amount of $366,400.00, a copy of which is
attached hereto and incorporated herein by reference.

        5. The Note referred to in the preceding paragraph is secured by a Deed of Trust on
real property owned by the Debtors and known as 800 Jefferson Drive, Charlotte, North
Carolina 28270 and more particularly described in a Deed of Trust recorded in Book 28734,
Page 984, Mecklenburg County Registry, North Carolina. A copy of the Deed of Trust is
attached hereto and incorporated herein by reference.

         6. SPECIALIZED LOAN SERVICING, LLC (hereinafter "SLS") services the loan on the
property referenced in this Motion for Relief. In the event the automatic stay in this case is
lifted/set aside, this case dismisses, and/or the Debtors obtain a discharge and foreclosure


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action is commenced on the mortgaged property, the foreclosure will be conducted in the name
of Specialized Loan Servicing, LLC. Specialized Loan Servicing, LLC directly or through an
agent, has possession of the note. The note is either made payable to Branch Banking and
Trust Company or has been duly endorsed. Movant is the original mortgagee or beneficiary or
the assignee if the Deed of Trust.

       7. Upon information and belief, the Debtors have further encumbered the secured
property as evidenced by a Deed of Trust recorded in the Mecklenburg County Registry, North
Carolina in the unpaid balance of $68,272.08, in favor of Pinnacle Bank.

        8. At the time of filing herein, the Debtors were in default on their obligations to SLS.

        9. SLS is a secured creditor in the Debtors' bankruptcy proceeding. The Debtors are in
substantial default. The total arrearage due under the Note through November 6, 2018, is at
least $4,755.24. A breakdown of the arrearage is as follows:

   Number of                                                   Monthly
                                                                                   Total Missed
    Missed              From                    To             Payment
                                                                                    Payments
   Payments                                                    Amount
       2               10/01/18              11/01/18            $1,940.16                  $3,880.32
 Accrued Late Charge                                                                          $172.62
 Escrow Advance                                                                             $2,072.46
 Less partial payments:                                                                   - $1,370.16
                                                                                    Total: $4,755.24

        10. As of the filing of this Motion, the unpaid principal balance on the above described
debt to Movant was $341,215.38 plus interest accruing at the rate of 4%, accumulated late
charges and fees. The amount necessary to pay the loan in full is in excess of $344,552.03.

        11. A fair market value, based on the Debtors' Petition is $410,000.00.

        12. Pursuant to section 362(d)(1) of the Bankruptcy Code, the Court may modify the
automatic stay for cause, including the lack of adequate protection of an interest in property of
such a party in interest 11 U.S.C. 362(d)(1). Movant is not adequately protected and the
Debtors have not offered any adequate protection in regards to the missed ongoing monthly
payments. Further “cause” exists under 11 U.S.C. § 362(d)(1) because the Debtors have failed
to maintain the ongoing monthly payments to SLS. Movant is entitled to Relief from Stay to
foreclose on its security interest in the property identified in the Deed of Trust attached hereto
and incorporated herein by reference.

       13. Movant is also entitled to relief pursuant to 11 U.S.C §362(d)(2) as the Debtors do
not have any equity in the property and the property securing the obligations of the Debtors to
SLS is not necessary for an effective reorganization.

       14. Movant will suffer irreparable injury, loss and damage in the event relief is not
granted.

      15. Movant has incurred reasonable attorney's fees and costs in connection with the
prosecution of this motion.




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        BASED UPON THE FOREGOING, Movant respectfully prays that:

        1. The stay imposed by 11 U.S.C. §362(a) be terminated, annulled or modified to permit
Movant to foreclose its security interest in the property identified in the Deed of Trust attached
hereto; that said relief is immediate, and the waiting period of F.R.B.P. 4001(a)(3) does not
apply; or in the alternative that it receive adequate protection from the Debtors;

        2. The hearing of this motion be the final hearing under 11 U.S.C. §362(c) and any
preliminary hearing be consolidated herein and Orders entered accordingly;

        3. It be granted reasonable attorney's fees; and,

        4. It has such other and further relief as the Court deems just and proper.

        This the 8th day of November, 2018.

                                   HUTCHENS LAW FIRM

                                   BY: s/S. Troy Staley
                                           S. TROY STALEY
                                           Attorney for Movant
                                           NC State Bar No: 43229
                                           Post Office Box 2505
                                           4317 Ramsey Street
                                           Fayetteville, NC 28302
                                           (910) 864-2668


THIS IS A COMMUNICATION FROM A DEBT COLLECTOR. THE PURPOSE OF THIS
COMMUNICATION IS TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE
USED FOR THAT PURPOSE.




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                           IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                          )
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TIMOTHY RUSSELL ROWLEY          )                               CASE NO. 18-31455
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                                )
PATRICIA JOHNSTON ROWLEY        )
SSN: XXX-XX-4723                )
                                )
                                )
                        DEBTORS )


                                 NOTICE OF OPPORTUNITY FOR HEARING

        TAKE NOTICE that an application or motion has been filed by Specialized Loan Servicing,
LLC, its successors and/or assigns, as their respective interest may appear. A copy of the
application or motion accompanies this Notice.

        TAKE FURTHER NOTICE that any response, including objection, to the relief requested in
the attached application or motion, should be filed with the Clerk of the Bankruptcy Court within
fourteen (14) days of the date of this Notice and a copy served on the attorney identified below and
upon other parties as required by law or court order. Any response shall clearly identify the specific
motion or application to which the response is directed.

       TAKE FURTHER NOTICE that no hearing will be held on this motion or application unless
a response is timely filed and served, in which case, the court will conduct a hearing on
December 10, 2018 at 9:30 a.m. in Charlotte, North Carolina. No further notice of this hearing will
be given.

         This the 8th day of November, 2018.


                                    HUTCHENS LAW FIRM

                                    BY: s/S. Troy Staley
                                            S. TROY STALEY
                                            Attorney for Movant
                                            NC State Bar No: 43229
                                            Post Office Box 2505
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Bankruptcy Court
Charles Jonas Federal Building
401 West Trade Street, Room 111
Charlotte, NC 28202




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                                      CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this date this paper was served upon the
following parties by depositing a copy enclosed in a postpaid, properly addressed wrapper in a
post office or official depository under the exclusive care and custody of the United States
Postal Service or via the appropriate electronic servicer:

Debtors:
Timothy Russell Rowley
800 Jefferson Drive
Charlotte, NC 28270

Patricia Johnston Rowley
800 Jefferson Drive
Charlotte, NC 28270

Attorney for Debtors:
Heather W. Culp
Essex Richards, P.A.
1701 South Boulevard
Charlotte, NC 28203

Chapter 7 Trustee:
John W. Taylor
4600 Park Road Suite 420
Charlotte, NC 28209

Bankruptcy Court Administrator
Charles Jonas Federal Building
402 West Trade Street
Suite 200
Charlotte, NC 28202

        This the 8th day of November, 2018.

                                   HUTCHENS LAW FIRM

                                   BY: s/S. Troy Staley
                                           S. TROY STALEY
                                           Attorney for Creditor
                                           NC State Bar No: 43229
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